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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION


 THE STATE OF GEORGIA, et al.,

                Plaintiffs,                                CIVIL ACTION NO.: 1:21-cv-163

        v.

 JOSEPH R. BIDEN, in his official capacity as
 President of the United States, et al.,

                Defendants.


                                           ORDER

       This Court’s Order in the above-styled action having been affirmed in part and vacated in

part by the Court of Appeals for the Eleventh Circuit, the mandate of the United States Court of

Appeals for the Eleventh Circuit is made the order of this Court.

       SO ORDERED, this 24th day of October, 2022.




                                      R. STAN BAKER
                                      UNITED STATES DISTRICT JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA
